Case 14-38071-EPK Doc 491 Filed 09/09/19 Page 1of6

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
WEST PALM BEACH DIVISION

www.flsb.uscourts.gov

In Re: Case No. 14-38071-EPK
Chapter 7
ROLLAGUARD SECURITY, LLC,

Debtor. /
TRUSTEE’S OBJECTION TO CLAIM 32-1, 33-1, 34-1, 35-1, 36-1 AND 38-1

IMPORTANT NOTICE TO CREDITOR:
THIS IS AN OBJECTION TO YOUR CLAIM

This objection seeks either to disallow or reduce the amount or change the
priority status of the claim filed by you or on your behalf. Please read this
objection carefully to identify which claim is objected to and what disposition
of your claim is recommended.

If you disagree with the objection or the recommended treatment of your
claim, then you must file a written response WITHIN 30 DAYS from the date
of service stated in this objection, explaining why your claim should be allowed
as presently filed, and you must mail a copy to the undersigned Trustee,
ROBERT C. FURR, OR YOUR CLAIM MAY BE DISPOSED OF IN
ACCORDANCE WITH THE RECOMMENDATION IN_ THIS
OBJECTION.

If your entire claim is objected to and this is a chapter 11 case, you will not
have the right to vote to accept or reject any proposed plan of reorganization
until the objection is resolved, unless you request an order pursuant to

Bankruptcy Rule 3018(a) temporarily allowing your claim for voting purposes.

The written response must contain the case name, case number, and must be
filed with the Clerk of the United States Bankruptcy Court.

Robert C. Furr, Chapter 7 Trustee (the “Trustee”), pursuant to Federal Rule of Bankruptcy
Rule 3007 and Local Rule 3007-1, through undersigned counsel, hereby files this objection (the
“Objection”) to the following claims (the “Objectionable Claims”) and request the recommended

disposition be granted:
Case 14-38071-EPK

Doc 491 Filed 09/09/19 Page 2 of 6

 

 

 

 

 

 

 

 

 

 

 

Claim Claimant Name Amount of Basis for Objection and

No. Claim Recommended Disposition

32-1 | Wayne Poirier $85,000 This is a late filed claim and subject to
P.O. Box 363 Unsecured | further consideration upon the
Willow Grove, PA 19090 determination that sufficient funds exist

to pay the claim in its order of priority.

33-1 | James M. Dempsey $335,137.62 | This is a late filed claim and subject to
5966 Canal Lane Unsecured | further consideration upon the
West Palm Beach, FL determination that sufficient funds exist
33407 to pay the claim in its order of priority.

34-1 | Heidi Reever $2,800 This is a late filed claim and subject to
2118 Ardley Court Unsecured | further consideration upon the
North Palm Beach, FL determination that sufficient funds exist
33408 to pay the claim in its order of priority.

35-1 | Patricia A. Bickford $15,000 This is a late filed claim and subject to
28 Kenlee Gds. Apt. D Unsecured | further consideration upon the
South Hadley, MA 01075 determination that sufficient funds exist

to pay the claim in its order of priority.

36-1 | 360 Columbia Drive $80,000 Pursuant to Court Orders [ ECF NO. 278
c/o Jasmes D. Tittle, Esq. Unsecured | and 296] a claim is allowed for $80,000
360 Columbia Drive, Suite as a general unsecured claim for “Hal
100 Prewitt,” not “360 Columbia Drive”.
West Palm Beach, FL
33409 Therefore, this claim should be

reclassed as a claim for the benefit of
Hal Prewitt in the amount of $80,000,
general unsecured.

38-1 | Angela Pomaro, as $3,000,000 | Pursuant to ECF 346 and 360, this claim
personal represetnative of Unsecured | is subordinated to general unsecured and
the testamentary esate of administrative creditors.

Stephen D. Pomaro

 

WHEREFORE, the Trustee respectfully requests this Court enter an order (1) sustaining

the Objection for each of the Objectionable Claims, and (2) granting such other and further relief

as the Court deems to be just and equitable.

I HEREBY CERTIFY that a true and correct copy of the foregoing was served on those

parties listed below via the manner stated.

 
Case 14-38071-EPK Doc 491 Filed 09/09/19 Page 3 of 6

Dated: September 9, 2019
By __/s/ Robert C. Furr, Trustee
ROBERT C. FURR, TRUSTEE
2255 Glades Road, Suite 301E
Boca Raton, FL 33431
Telephone: (561) 395-0500
Facsimile: (561)338-7532
Email: trustee@furrtrustee.com

VIA ECF:

e Alan Barbee abarbee@glassratner.com, abarbee@glassratner.com

e AlanM Burger  aburger@mcdonaldhopkins.com, jpaul@mcdonaldhopkins.com,
ltimoteo@medonaldhopkins.com

* Stacey J Carlisle  sjcarliske@growerketcham.com, enotice@growerketcham.com

e Leslie Gern Cloyd lcloyd@bergersingerman.com, kgoins@bergersingerman.com,
cphillips@bergersingerman.com, efile@ecf.inforuptcy.com, efile@bergersingerman.com,
kbeck@bergersingerman.com

¢ Kevin M Eckhardt  keckhardt@huntonak.com, keckhardt@hunton.com

e C Craig Eller celler@broadandcassel.com

« Matthew J Feeley matthew.feeley@usdoj.gov, Milton.Pacheco@usdoj.gov,
Shannon. patterson@usdoj.gov

e« Jose R Florez jose.florez@bipc.com, Jessie.steffes@bipc.com

« Robert G Fracasso Jr —_rfracasso@shutts.com, fsantelices@shutts.com

¢ Michael A Friedman mfriedman@gjb-law.com, gjbecf@gjb-law.com, jsardina@gjb-
law.com, gjbecf@ecf.courtdrive.com, jzamora@gjb-law.com

« Andrew FultonIV andrew@kelleylawoffice.com, dana@kelleylawoffice.com,
tina@kelleylawoffice.com, Carmen@kelleylawoffice.com, yamila@kelleylawoffice.com

¢ Robert C Furr _ Ititus@furrcohen.com, atty_furrcohen@bluestylus.com,
cworkinger@furrcohen.com

e RobertC Furr  danderson@furrcohen.com, rcf@trustesolutions.net

e Angelo A. Gasparri angelo@driclaw.com, lawgroup@drlclaw.com,
robert@drlclaw.com, a.ar75275@notify.bestcase.com

e« JohnH Genovese jgenovese@gjb-law.com, hburke@gjb-law.com, gjbecf@gjb-
law.com, gjbecf@ecf.courtdrive.com, jzamora@gjb-law.com

e Kevin C Gleason kgpaecmf@aol.com

¢ ScottM. Grossman  grossmansm@gtlaw.com, scottla@gtlaw.com,
MiaLitDock@gtlaw.com, FTLLitDock@GTLaw.com; miaecfbky@gtlaw.com

e Malinda L Hayes malinda@businessmindedlawfirm.com, mlhbnk@gmail.com

e Jamie ZIsani jisani@hunton.com, mplantada@hunton.com

¢« LauraM Kelly = |mkelly@growerketcham.com, enotice@growerketcham.com,
Icollins@growerketcham.com

* Bernice C.Lee blee@slp.law, dwoodall@slp.law, ematteo@slp.law

e David H Lichter  dlichter@lichterlawfirm.com

e Orfelia M Mayor omayor@ombankruptcy.com, legalservices@pbctax.com;
carmen@ombankruptcy.com; cmbk@ombankruptcy.com; omayor@ecf.inforuptcy.com

e Brian K.McMahon _ briankmcmahon@gmail.com, irizarryelisel1@gmail.com
Case 14-38071-EPK Doc 491 Filed 09/09/19 Page 4of6

e Charles J Meltz  cjmeltz@growerketcham.com, enotice@growerketcham.com;
jclinton@growerketcham.com

e¢ Lorin Louis Mrachek |Imrachek@pm-law.com, abourget@mrachek-law.com,

mchandler@pm-law.com; dkelly@mrachek-law.com; blewter@mrachek-law.com,

tclarke@mrachek-law.com; dkelly@mrachek-law.com

Office of the US Trustee USTPRegion21.MM.ECF@usdoj.gov

Leslie S. Osborne  office@rorlawfirm.com, 4275819420@filings.docketbird.com

John E Page jpage@slp.law, dwoodall@slp.law; ematteo@slp.law

Eric S Pendergraft ependergraft@slp.law, dwoodall@slp.law; ematteo@slp.law;

bshraibergecfmail@gmail.com

Evan B. Plotka evan@plotkalaw.com

¢« Jason S Rigoli jrigoli@furrcohen.com, rrivera@furrcohen.com;
atty_furrcohen@bluestylus.com

e Michael J Ryan mikeryan32645@yahoo.com

e Robert A. Schatzman _ robert.schatzman@gray-robinson.com, lauren.rome@gray-
robinson.com; Amador.Ruiz-Baliu@gray-robinson.com

¢ Gregory L Scott gscott@nasonyeager.com, sjanowitz@nasonyeager.com

¢ Esperanza Segarra  esegarra@hinshawlaw.com, clucas@hinshawlaw.com

e Bradley S Shraiberg bss@slp.law, dwoodall@slp.law; blee@slp.law;
bshraibergecfmail@gmail.com; ematteo@slp.law

e Jeffrey M Siskind jeffsiskind@msn.com, jmsesq500@gmail.com

* Jesus M Suarez jsuarez@gjb-law.com, gjbecf@gjb-law.com; chopkins@gjb-
law.com; jzamora@gjb-law.com; ecastellanos@gjb-law.com; gjbecf@ecf.courtdrive.com

« Howard S Toland htoland@mitrani.com

¢ Lori V Vaughan lvaughan@trenam.com, mmosbach@trenam.com;
mwoods@trenam.com

¢ Stuart A Young syoung@ybplaw.com

Via Mail:
Mark F. Bideau Eleuba Growth, LLC
Greenberg Traurig, P.A. 1903 Bearberry Ln
777 South Flagler Drive Asheville, NC 28803
Suite 300 East
West Palm Beach, FL 33401 G4i Capital Partners, Inc.
Attn: David Webb, CEO
Stan L Crooks 512 Overlook Dr
6537 Southern Blvd #2 North Palm Beach, FL 33408

West Palm Beach, FL 33413
Case 14-38071-EPK Doc 491

Genovese Joblove & Battista, P.A.
200 E Broward Blvd # 1110
Fort Lauderdale, FL 33301

Andrew Kravit
2101 NW Corporate Blvd #300
Boca Raton, FL 33431

Adam Levine

c/o G4i Capital Partners Inc
1180 Gulf Blvd #303
Clearwater, FL 33767

David H. Lichter
2999 NE 191 St #330
Aventura, FL 33180

Pamela Miller
O'Melveny & Myers LLP
Times Square Tower

7 Times Square
New York, NY 10036

Bruce Nazzaro

c/o G4i Capital Partners Inc
1300 Via Royale #1307
Jupiter, FL 33458

Heidi Reever
2118 Ardley Court
North Palm Beach, FL 33408

Stephen W Screnci

2600 N Military Trail
Fountain Square #410
Boca Raton, FL 33431

Daniel Shamah
O'Melveny & Myers LLP
Times Square Tower

7 Times Square

New York, NY 10036

Filed 09/09/19 Page 5of6

Shamrock Jewelers Loan &
Guarantee, LLC

968 Northlake Blvd

Lake Park, FL 33403

Shamrock Jewelers, Inc.
968 Northlake Blvd
Lake Park, FL 33403

Anthony T. Simpson
530 Oyster Rd
North Palm Beach, FL 33408

Jeff Stingel
1903 Bearberry Ln
Asheville, NC 22803

Susan Stingel
1903 Bearberry Ln
Asheville, NC 28803

Norman and Susan Thomas
716 Nighthawk Way
North Palm Beach, FL 33408

James D Tittle
360 Columbia Dr #100
West Palm Beach, FL 33409

David Webb

c/o G4i Capital Partners Inc
512 Overlook Dr

N Palm Beach, FL 33408

Steven Suder
172 Via Rosina
Jupiter, FL 33458

Micael Dean
1190 Bimini Lane
Singer Island, FL 33404

Rolyat Family Revocable Trust
c/o Daniel E. Taylor

8771 SE Bridge Road #333
Hobe Sound, FL 33455
Case 14-38071-EPK Doc 491

Eleuba Growth
1903 Bearberry Lane
Ashville, NC 28803

Michael A. Kaufman, PA
1655 Palm Beach Lakes Blvd.
Suite 1012

West Palm Beach, FL 33401

Nicole Testa Mehdipour

Trustee for Estate of Michael Dean
c/o Tripp Scott PA

110 SE 6" Street, 15" Floor

Fort Lauderdale, FL 33301

Walter Mazzota
P.O. Box 8892
Jupiter, FL 33468

Charles M Hamilton
400 S.E. 5" Ave., 304N
Boca Raton, FL 33432

Robert J. Schatzman, Esq.
Gray Robinson PA

333 S.E. 2" Ave., #3200
Miami, FL 33131

Mark and Lyn Michels
648 Shore Road
North Palm Beach, FL 33408

Norman and Susan Thomas
716 Nighthawk Way
North Palm Beach, FL 33408

Town of Lake Park

c/o Thomas J. Baird, Esq.
Jones Foster

4741 Military Trail, #200
Jupiter, FL 33458

Brian Dunn
12383 Plantation Lane

Filed 09/09/19 Page 6 of 6

North Palm Beach, FL 33408

Craig Lewis
12383 Plantation Lane
North Palm Beach, FL 33408

Denise M. Exclusa
3734 Constellation Blvd.
Lake Park, FL 33403

Wayne Poirier
P.O. Box 363
Willow Grove, PA 19090

James Dempsey
5966 Canal Lane
West Palm Beach, FL 33407

Heidi Reever
2118 Ardley Court
North Palm Beach, FL 33408

360 Columbia Drive

c/o James D. Tittle, Esq.

360 Columbia Drive, #100
West Palm Beach, FL 33409

Angela Pomero, PR for Stephen
Pomero

c/o Bernice Lee, Esq.

Shraiberg Landau & Page

2385 NW Executive Center Dr.,
#300

Boca Raton, FL 33431
